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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


PHARIS GELAINE JOACHIM,

       PLAINTIFF,
                                           CIVIL ACTION NO.
V.
                                           JURY TRIAL DEMAND
PREMIA MORTGAGE LLC d/b/a
PREMIA RELOCATION
MORTGAGE SERVICES,

       DEFENDANT.



                        COMPLAINT FOR DAMAGES

      COMES NOW Pharis Gelaine Joachim (“Plaintiff”), by and through

counsel, and files this Complaint for Damages against Premia Relocation

Mortgage Services (“Defendant”) for discrimination in violation of the Age

Discrimination in Employment Act of 1967, 29 U.S.C. § 621 et seq.

(“ADEA”), and Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e

et seq. (“Title VII”) shows the Court as follows:

                   I.    JURISDICTION AND VENUE

                                      1.

      This Honorable Court has original jurisdiction over Plaintiff’s claims

pursuant to 28 U.S.C. § 1331 as they arise under the laws of the United States.
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                                          2.

       Venue is proper as a substantial portion of the acts or omissions giving

rise to this action occurred in this judicial district.

                                      PARTIES

                                          3.

       Plaintiff, Pharis Gelaine Joachim (“Ms. Joachim”) was, at all times

material, an employee of Defendant. Plaintiff performed her job duties in

Marietta, Georgia.

                                          4.

       Plaintiff is protected by Title VII of the Civil Rights Act because she:

              a.     Is female;

              b.     Was subjected to discrimination because of her gender;

              c.     Was subjected to equal pay violations because of her

gender;

                                          5.

       Plaintiff is protected by the ADEA because she is an individual who is

over 40 years of age.

                                           6.

       At all times material, Defendant was and is an “employer” as envisioned

by Title VII and the ADEA.


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                                        7.

      At all times material, Defendant was and is an “employer” as envisioned

by Title VII and the ADEA.

                                        8.

      At all times material, Plaintiff was an “employee” of Defendant as

envisioned by Title VII and the ADEA.

                      CONDITIONS PRECEDENT

                                        9.

      On March 31, 2020, Ms. Joachim filed a Charge of Discrimination with

the EEOC alleging gender and age discrimination, as well as retaliation.

(Charge No. 410-2020-04799).

                                        10.

      On January 20, 2021, the EEOC issued a Notice of Right to Sue for

Charge No. 410-2020-04799.

                                        11.

      Plaintiff files this Complaint within 90 days of receipt of the Notice of

Right to Sue referenced above.

                                        12.

      All conditions precedent to this action have been satisfied and/or

waived.


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                                        13.

      Plaintiff’s claims are hereby timely filed.

                        FACTUAL ALLEGATIONS

                                        14.

      Plaintiff was, at all times material, qualified for her position with

Defendant.

                                        15.

      Plaintiff was hired on July 1, 2011 as a Director of National Accounts

by Defendant.

                                        16.

      In April 2015, Tom James, President of the Company, became

Plaintiff’s direct manager when her prior manager left the Company.

                                        17.

      On April 9, 2015, Plaintiff applied for a Sales Manager position and was

denied by her manager, Mr. James.

                                        18.

      In September 2016, Plaintiff applied for the Sales Manager position

again and she was denied by her manager, Mr. James.




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                                       19.

       In August 2017, Plaintiff interviewed for the Vice President/Sales

Manager position. Mr. James indicated to Plaintiff that there was no reason

she shouldn’t be given the position based on her experience, accomplishments,

and corporate relationships; however, he ultimately chose not to fill the vacant

position.

                                       20.

       In March 2019, Mr. James hired an individual who was substantially

younger than Plaintiff with no sales experience and ultimately gave her four

of Plaintiff’s top revenue-producing states.

                                       21.

       On May 13, 2019, Plaintiff emailed Mr. James detailing her concern

of being denied promotions based on her age and gender.

                                       22.

       In August 2019, Mr. James hired a younger male with less sales

experience than Plaintiff, and he was paid approximately $30,000 more than

Plaintiff.




                                       23.


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      On December 9, 2019, Plaintiff was written-up for unsatisfactory

performance and given a 30 days’ notice of potential termination despite

never having been written-up before.

                                        24.

      The December 9, 2019, write-up was pretextual.

                                        25.

      The December 9, 2019, write-up was issued in retaliation for Plaintiff

voicing concerns regarding the reduction in her territory, pay disparity and

lack of promotions.

                                        26.

      Plaintiff was terminated on January 13, 2020.

                                        27.

      At all times relevant, Defendant failed to investigate Plaintiff’s

complaints about gender and age discrimination.

                                        28.

      Defendant violated its own internal policies by failing to properly

investigate Plaintiff’s discrimination complaint(s).

                                        29.

      Defendant violated its own internal policies by failing to discipline

employees similarly-situated to Plaintiff.


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                                           30.

       Defendant, through the actions more specifically alleged above, affected

one or more “terms, conditions or privileges” of Plaintiff’s employment as

envisioned by Title VII.

                                           31.

       The treatment to which Plaintiff was subjected was based, at least in

part, upon:

              a.      The fact that Plaintiff is female;

              b.      The fact that Plaintiff is aged 74.

              c.      The fact that Plaintiff opposed what she reasonably

perceived to be gender and age based discrimination.

                                           32.

       Plaintiff’s gender and age based complaints were a substantial and/or

motivating factor in Defendant’s decision(s) to terminate Plaintiff.

                                CLAIMS FOR RELIEF

                   COUNT I: GENDER DISCRIMINATION

                                           33.

       Plaintiff realleges and adopts the allegations of paragraphs 1–32 above

as if fully set forth herein.




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                                       34.

      Plaintiff suffered discrimination at work because of her gender by,

among other things, being held to a higher standard than my similarly-situated

male colleagues, being paid less than my less experienced and similarly-

situated male colleagues, being passed over for promotions despite my years

of experience, and ultimately terminated from my employment.

                                       35.

      Plaintiff was treated less favorably than her similarly-situated male

colleagues because of her gender.

                                       36.

      Defendant took adverse employment actions against Plaintiff because of

her gender.

                                       37.

      Defendant had actual or constructive knowledge of the discrimination

through Plaintiff’s own verbal and written complaints.

                                       38.

      Notwithstanding Defendant’s actual and constructive knowledge of the

discrimination suffered by Plaintiff, Defendant failed to exercise reasonable

care to prevent and promptly correct the discrimination.




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                                         39.

        Defendant’s discriminatory acts and omissions negatively affected one

or more terms, conditions and/or privileges of Plaintiff’s employment.

                                         40.

        Defendant’s discriminatory acts and omissions occurred, at least in part,

because of Plaintiff’s gender.

                                         41.

        As a direct, natural, proximate and foreseeable result of the actions of

Defendant, Plaintiff has suffered injuries for which she is entitled to

compensation, including, but not limited to, future pecuniary losses, emotional

pain, suffering, inconvenience, mental anguish, loss of enjoyment of life and

other non-pecuniary losses.

                                         42.

        Plaintiff has no plain, adequate or complete remedy at law for the

actions of Defendant, which have caused and continue to cause irreparable

harm.

                                         43.

        Plaintiff is entitled to recover her attorneys’ fees and costs pursuant to

42 U.S.C. § 2000e-5(k).




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                  COUNT II: AGE DISCRIMINATION

                                       44.

      Plaintiff reincorporates and readopts all allegations contained within

Paragraphs 1–43 above.

                                       45.

      Plaintiff suffered discrimination at work because of her age by, among

other things, being held to a higher standard than her substantially younger

colleagues, being paid less than her substantially younger colleagues, being

passed over for promotions despite her years of experience, having her most

profitable clients being taken away and given to a substantially younger

colleague, and ultimately terminated from her employment.

                                       46.

      Plaintiff was treated less favorably than her substantially younger

colleagues because of her age.

                                       47.

      Defendant took adverse employment actions against Plaintiff because of

her age.

                                       48.

      Defendant had actual or constructive knowledge of the discrimination

through Plaintiff’s own verbal and written complaints.


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                                        49.

        Notwithstanding Defendant’s actual and constructive knowledge of the

discrimination suffered by Plaintiff, Defendant failed to exercise reasonable

care to prevent and promptly correct the discrimination.

                                        50.

        Defendant’s discriminatory acts and omissions negatively affected one

or more terms, conditions and/or privileges of Plaintiff’s employment.

                                        51.

        Defendant’s discriminatory acts and omissions occurred because of

Plaintiff’s age.

                                        52.

        As a direct, natural, proximate and foreseeable result of the actions of

Defendant, Plaintiff has suffered injuries for which she is entitled to

compensation.

                                        53.

        Plaintiff has no plain, adequate or complete remedy at law for the

actions of Defendant, which have caused and continue to cause irreparable

harm.




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                                       54.

      Plaintiff is entitled to recover her attorneys’ fees and costs pursuant to

29 U.S.C. § 621 et seq.

                          COUNT III: RETALIATION

                                       55.

      Plaintiff repeats and re-alleges the preceding paragraphs as if set forth

fully herein.

                                       56.

      Plaintiff engaged in protected conduct under Title VII and the ADEA

by complaining about and opposing Defendant’s unlawful discrimination to

Defendant.

                                       57.

      Defendant knew or should have known that Plaintiff engaged in

conduct protected by Title VII and the ADEA.

                                       58.

      As a result of Plaintiff’s participation in protected activity, Defendant

took adverse employment actions against her, including but not limited to,

disciplining her and terminating her employment.




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                                         59.

      Defendant’s actions constitute unlawful retaliation under Title VII and

the ADEA.

                                         60.

      As a result of Defendant’s unlawful retaliation, Plaintiff has suffered

and continues to suffer damages, including loss of pay and benefits,

attorneys’ fees, and costs.

      WHEREFORE, Plaintiff, Pharis Gelaine Joachim, respectfully

requests entry of:

             a.      judgment in her favor and against Defendant for violation

of the anti-discrimination provisions of Title VII and the ADEA;

             b.      judgment in her favor and against Defendant for

compensatory damages, in an amount to be determined by a jury of her peers;

             c.      judgment in her favor and against Defendant for her

reasonable attorneys’ fees and litigation expenses.

             d.      declaratory judgment that Defendant’s practices toward

Plaintiff violate Plaintiff’s rights under Title VII and the ADEA;

             e.      an order granting such other and further relief as this Court

deems just and equitable under the circumstances of this case.




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Respectfully Submitted,

                                     /s/ Jeremy Stephens
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